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                  UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF TEXAS
                      FORT WORTH DIVISION

   CHRISTOPHER RAMIREZ, BY AND
   THROUGH HIS NEXT FRIEND,
   OLIMPIA RAMIREZ,

        Plaintiff,                                  No. 4:22-cv-0733-P

   V.

   CECILE YOUNG, IN HER OFFICIAL
   CAPACITY AS THE EXECUTIVE
   COMMISSIONER, TEXAS HEALTH AND
   HUMAN SERVICES COMMISSION,

        Defendant.

                                  ORDER
      After a hearing, the United States Magistrate Judge made findings,
   conclusions, and a recommendation (FCRs) regarding the Plaintiff’s
   Motion for Temporary Restraining Order (“TRO”) and Preliminary
   Injunction. ECF No. 3, 5. The FCRs concern the TRO; the preliminary
   injunction remains pending before the Magistrate Judge. ECF No. 5, 6.
   Defendant objected to the FCRs. ECF No. 12. Plaintiff responded to the
   Objections. ECF No. 13.

      The Court conducts a de novo review of those portions of the
   Magistrate Judge’s FCRs to which a timely objection is made. 28 U.S.C.
   § 636(b)(1)(C). Portions of the FCRs that are not the subject of a timely
   objection will be accepted by the Court unless they are clearly erroneous
   or contrary to law. See United States v. Wilson, 864 F.2d 1219, 1221 (5th
   Cir. 1989).

      Having reviewed the Complaint, Motion, FCRs, Objections,
   Responses to the Objections, arguments of counsel, and relevant caselaw
   including Harrison v. Young, No. 19-10874, 2022 WL 3906582 (5th Cir.
   Aug. 31, 2022), the Court GRANTS Defendant’s objection to the
   Magistrate Judge’s finding that Plaintiff showed a substantial
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   likelihood that he will prevail on the merits. No. 19-10874, 2022 WL
   3906582, at *5–6 (5th Cir. Aug. 31, 2022). Without reaching the other
   Objections, the Court therefore DENIES the Motion to the extent that
   it seeks a TRO.

      That portion of the Motion seeking a preliminary injunction remains
   pending before Magistrate Judge Jeffrey L. Cureton, and all papers filed
   hereafter regarding the preliminary injunction request shall include the
   following notation under the case number: “(Relates to Motion Referred
   to Magistrate Judge Cureton).”

      SO ORDERED on this 2nd day of September 2022.




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